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                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MISSOURI
                                SOUTHEASTERN DIVISION

 In re:                                         )        Case No. 18-10338-399
                                                )        Chapter 7
 MARK STEVEN FAUSETT,                           )
                                                )        Re: doc 19
                                                )
                        Debtor.                 )        ORDER

       On May 8, 2018, Mark Steven Fausett (“the Debtor”) filed his “Motion to
 Postpone 341 Meeting” (doc 19) stating that:

                 “The undersigned counsel for Debtor has a direct conflict on the time of the
                 meeting. The undersigned counsel also has a social security hearing for which the
                 claimant has been waiting for over a year for his hearing. That hearing is
                 scheduled for May 11, 2018 at 1:00 p.m. in Sikeston, Missouri.”

 See Local Rule 2003-A: Requests to Continue or Reschedule the § 341 Meeting,
 Notice of Re-setting, and Extension which states as follows:

                 “If the debtor or the debtor’s attorney knows in advance of the § 341 Meeting that
                 the debtor or attorney cannot attend the § 341 Meeting as scheduled, the debtor’s
                 attorney (or the debtor if not represented by an attorney) shall contact the Trustee
                 (or the United States Trustee in a Chapter 11 case where no Trustee has been
                 appointed) as far in advance of the § 341 Meeting as possible to request a
                 continued hearing date. If continued, the debtor’s attorney (or the debtor if not
                 represented by an attorney) shall:

                    1. prepare and file a notice of the continued § 341 Meeting;
                    2. serve notice of the continued § 341 Meeting date on the Trustee and on all
                       creditors and parties in interest and, in Chapter 11 cases, on the United
                       States Trustee; and
                    3. file a certificate of service with the Court.
                    4. In Chapter 13 cases, the debtor’s attorney (or the debtor if pro se) shall
                       also obtain a continued confirmation hearing date from the Courtroom
                       Deputy and include the continued confirmation date in the notice of the
                       continued § 341 Meeting mailed to all creditors and parties in interest.”

          Upon careful review of the record in this case, it is accordingly

         ORDERED that the Debtor’s “Motion to Postpone 341 Meeting” (doc 19) be and
 it is hereby DENIED for failure to comply with Local Rule 2003-A.



 DATED: May 10, 2018
 St. Louis, Missouri                                Barry S. Schermer
 wma                                                United States Bankruptcy Judge
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 CHAPTER 7 TRUSTEE

 U.S. Trustee
 Office of US Trustee
 111 S Tenth St, Ste 6.353
 St. Louis, MO 63102

 ALL CREDITORS AND PARTIES IN INTEREST LISTED ON THE MAILING MATRIX
